       Case 1:25-cv-00354-RDM            Document 18        Filed 02/16/25      Page 1 of 1



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 UNIVERSITY OF CALIFORNIA
 STUDENT ASSOCIATION,

                    Plaintiff,

          v.                                         Case No. 1:25-cv-00354-RDM

 DENISE CARTER, in her official capacity as
 Acting Secretary of Education, et al.,

                    Defendants.


                     NOTICE OF SUPPLEMENTAL DECLARATIONS

       Further to Defendants’ filings regarding Plaintiff’s motion for a temporary restraining order,

ECF No. 9, and at the Court’s invitation during the February 14 hearing on that motion, Defendants

respectfully enclose two supplemental declarations in support of their opposition to the motion.

Dated: February 16, 2024                          Respectfully submitted,

                                                  BRETT A. SHUMATE
                                                  Acting Assistant Attorney General

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Branch Director
                                                  Federal Programs Branch

                                                  /s/ Simon Gregory Jerome
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